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                                    STATEMENT OF FACTS
        The National Center for Missing and Exploited Children (NCMEC) is a non-profit
501(c)(3) organization that serves as a national clearinghouse and resource center for families,
victims, private organizations, law enforcement, and the public on issues involving missing and
sexually exploited children. NCMEC operates a CyberTipline and Child Victim Identification
program. Through the Cyber Tipline, Internet Service Providers (ISPs), Electronic Service
Providers (ESPs), and individual persons may notify NCMEC of online images depicting child
sexual abuse. NCMEC makes information submitted to the CyberTipline and Child Victim
Identification Program available to law enforcement agencies, including the Federal Bureau of
Investigation (FBI).
        On February 14, 2022, an employee of the file hosting service company Dropbox reported
to NCMEC that Dropbox user #1922420000 uploaded a video depicting suspected child
pornography to the Dropbox servers. The video was labeled “falko. . .mkv(1)” hereafter “VIDEO
1.” 1 The employee reported that VIDEO 1 had been uploaded to the Dropbox user’s account on
February 12, 2022. An employee of Dropbox reviewed the contents of VIDEO 1 before reporting
it to NCMEC. After reporting the Dropbox user and VIDEO 1 to NCMEC, on February 14, 2022,
Dropbox shutdown the account.
       Law enforcement reviewed VIDEO 1. It is a thirty minute and forty-six seconds long,
compilation style video that depicts the sexual abuse of several prepubescent girls. The children
can be seen having their vaginas penetrated by erect adult penises, having their mouths penetrated
by erect adult penises, and being ejaculated on. One child is shown wearing a blindfold, with her
hands bound together, while adult females rub the child’s breast and genital or pubic area. The
video also shows the child’s genital area being manipulated by an adult hand. The file was labeled
“falko. . .mkv(1)” and concludes with “film IV PISS SCAT VIOLENCE contact me…”
       Dropbox reported that VIDEO 1 had been uploaded from the address
“/PC/Downloads/falko. . .mkv.” This file path indicates that VIDEO 1 was first downloaded to a
personal computer, from another location, and then uploaded to user #1922420000’s Dropbox
account. Dropbox reported that account #1922420000 was registered with the email address
beginning with “tdc2099” under the name “Silvanus Slade.” Dropbox also provided that the last
internet protocol (IP) address to log into the account was 205.175.219.74 on February 4, 2022.2 IP
address 205.175.219.74 is registered with the ISP Allied Telecom Group, LLC, and resolves to an
organization located at XXXX U Street N.W., Washington, D.C. Law enforcement has verified
that Tonio Calhoun has been employed by this organization since prior to February of 2022.



1The full title of the file is known to law enforcement, but it is redacted here to prevent the further
dissemination of child pornography.

2Depending on a user’s Dropbox account settings, if that user logs in on a given date, their account
will remain logged in until that user logs out. Thus, the account can remain “logged in” for periods
of days or weeks following the log in.
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       In response to an administrative subpoena for the email account “tdc2099”, Google
provided that the account was created on April 3, 2018. Google reported that the account creator
provided the name “Silvanus Slade,” the phone number 202-XXXX-3503, and a backup email
address beginning with “gstarcharmer”. Google also provided numerous IP logs used to access
account the email account “tdc2099”, which generally resolved to the Washington, D.C. area.
Additionally, a Mastercard account registered to Tonio Calhoun, of XXXX 18 th Street Southeast,
#XXX, Washington, D.C., was linked to the gmail account.
        A member of the Federal Bureau of Investigation and Metropolitan Police Department’s
Child Exploitation and Human Trafficking Task Force reviewed the IP addresses provided by
Google in regards to the email account “tdc2099” and found that the account had been accessed
from an IP address of 2601:152:a00:2183:a012:f869:6961:3a39 on February 4, 2022. The member
found that this IP address resolved to Comcast. Comcast reported that the account subscriber for
the IP address of 2601:152:a00:2183:a012:f869:6961:3a39 is Tonio Calhoun, of XXXX 18th
Street Southeast, #XXX in Washington, D.C. The Comcast account was created on December 23,
2021 and is currently active.
        In response to administrative subpoenas for the email account “gstarcharmer”, Google
provided that the account was created on May 16, 2018, and that the user provided the name Tonio
Calhoun at the time of registration. The account was registered with phone number 202-XXX-
8191 and the recovery email “tdc2099”. Additionally, Google reported that a Visa account
registered to Tonio Calhoun, of XXXX Langston Place Southeast, Washington, D.C., was linked
to the account.
       Law enforcement conducted a records search of open source and law enforcement
databases to identify Tonio Calhoun via biographical identifiers provided by Google and Dropbox.
Law enforcement found that a male named Tonio Calhoun, with the date of birth December 4,
1981, was linked to the email address “gstarcharmer.” Law enforcement learned that Tonio
Calhoun is a registered sex offender residing in Washington, D.C. Calhoun has a January 17, 2013
conviction for Distribution of Child Pornography, in violation of 18 U.S.C. § 2252(a)(2), in case
12-CR-218 (JDB) in the U.S. District Court for the District of Columbia.
       Tonio Calhoun is currently on federal probation following his release from prison in case
12-CR-218 (JDB). Between April and December 2020, Tonio Calhoun provided the email address
“tdc2099” and phone number 202-XXX-8191 to his probation officer and the United States
Marshals Service (USMS). These identifiers are identical to those associated with Google account
“gstarcharmer.”
      Federal agents applied for and received a warrant to search user 1922420000’s Dropbox
Account. In response to the warrant, Dropbox provided two files, one which included the active
account data for user #1922420000’s account and another which included its deleted files. 3
      Dropbox user #1922420000’s active files folder contained word documents labeled “Tonio
Calhoun Testimony” and “Tonio Testimony” and a PDF labeled “Tonio Calhoun Resume – FOOD

3   Dropbox allows users to access items in their deleted items folder for a period of 30 days.
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SERVICE 9-15-18.” User #1922420000’s deleted files folder included VIDEO 1. The deleted files
folder also contained a second video labeled, “1644673061811577_(pthc). . .kids (3m3s)(2)”
(hereinafter “VIDEO 2”). 4 Upon information and belief, the acronym “pthc” stands for “pre-teen
hard core” and refers to materials that depict the sexual abuse of prepubescent children.
       VIDEO 2 is a three minute and three seconds long, compilation style video. VIDEO 2
shows prepubescent girls having their mouths penetrated by erect adult penises, the girls rubbing
erect adult penises, and the girls having their genitals penetrated by adult male fingers. The last
portion of VIDEO 2 shows an adult penis rubbing against the exposed vagina of a prepubescent
female.
                                         CONCLUSION

       Based on the above information, there is probable cause to believe that TONIO B.
CALHOUN committed the offenses of Transportation of Child Pornography, in violation of 18
U.S.C. § 2252(a)(1), on February 12, 2022, and Possession of Child Pornography, in violation of
18 U.S.C. § 2252(a)(4)(B), on February 14, 2022.



                                              _________________________________
                                              THOMAS SULLIVAN
                                              FBI-MPD CHILD EXPLOITATION & HUMAN
                                              TRAFFICKING TASK FORCE


Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1
by telephone, this 13th day of June 2022.

                                                                Zia M. Faruqui
                                                                2022.06.13 17:10:51
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                                              ___________________________________
                                              ZIA M. FARUQUI
                                              U.S. MAGISTRATE JUDGE




4 The full title of the file is known to law enforcement, but it has been redacted here to prevent
the further dissemination of child pornography.
